                                          Case 16-22134-LMI                       Doc 2        Filed 08/31/16      Page 1 of 2

                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                          CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                            Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                            Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR: Jose S Marrero                                                  JOINT DEBTOR: Maribel Marrero                        CASE NO.:
 Last Four Digits of SS# xxx-xx-7457                                    Last Four Digits of SS# xxx-xx-8039

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $             283.14 for months           1       to       36       ;
           B.       $             236.84 for months            37     to        60      ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  3,500.00       TOTAL PAID $                      2,000.00
                     Balance Due       $             1,500.00 payable $ 41.67                    /month (Months          1 to      36 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 -NONE-                                                  Arrearage on Petition Date $
 Address:                                                         Arrears Payment $                            /month     (Months     to )
 Account No:                                                      Regular Payment $                            /month     (Months     to )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate       Plan Payments Months of Payment    Total Plan Payments

 -NONE-                                          $                                           %          $                        To
Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                    Regular Payment $
Unsecured Creditors: Pay $213.16month (Months 1 to 60).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Capital One Auto Finance: Debtor will pay claim directly .
             Les Chateaux at International Gardens Co: Debtor will pay claim directly.
             Space Coast Credit Uni: Debtor will pay claim directly.

             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that the deadline for providing
             the Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s)
             shall provide the trustee with verification of their disposable income if their gross household income increases by
             more than 3% over the previous year’s income.




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                                          Case 16-22134-LMI             Doc 2       Filed 08/31/16   Page 2 of 2

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Jose S Marrera                                                  /s/ Maribel Marrera
 Jose S Marrera                                                      Maribel Marrera
 Debtor                                                              Joint Debtor
 Date: August 31, 2016                                               Date: August 31, 2016




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